     Case 3:10-cv-01334-CCC Document 274 Filed 04/20/18 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

ADVANCED GENERIC
CORPORATION
Plaintiff                                   CIVIL 10-1334CCC
vs
SORTER LABORATORIES DRUG
TESTING, CORP. d/b/a SORTER
LABORATORIES; DELIZ
PHARMACEUTICAL CORPORATION;
SEYER PHARMATEC, INC.
d/b/a SEYER LABORATORIES;
NOVIS P.R., INC.; INTERNATIONAL
ETHICAL LABS, INC.; PORTAL
PHARMACEUTICAL, INC.; GIL
PHARMACEUTICAL CORP.;
BORSCHOW HOSPITAL & MEDICAL
SUPPLIES, INC.; FMC
DISTRIBUTORS, INC.; CESAR
CASTILLO, INC.; PUERTO RICO
COLLEGE OF PHARMACISTS; JOHN
DOE and COMPANY XYZ
Defendants

NOVIS PR, Inc.
Counter-Claimant/Third-Party Plaintiff
vs
ADVANCED GENERIC
CORPORATION
Counter-Defendant
vs
JOSE C. LLORENS
Third-Party Defendant

PORTAL PHARMACEUTICAL, INC.
Counter-Claimant
vs
   Case 3:10-cv-01334-CCC Document 274 Filed 04/20/18 Page 2 of 2



CIVIL 10-1334CCC                     2


 ADVANCED GENERIC
 CORPORATION
 Counter-Defendant



                               JUDGMENT

      Having considered that plaintiff Advanced Generic Corporation,
defendant Novis PR, Inc. and third-party defendant José Lloréns entered a
Stipulation for Dismissal with Prejudice (d.e. 271) on April 17, 2018, it is
ORDERED and ADJUDGED that judgment be entered DISMISSING all their
respective causes of action in this case against each other, WITH PREJUDICE
and without assessment of attorney’s fees or costs for any of the appearing
parties.
      The pretrial/settlement conference scheduled for April 18, 2018 is,
therefore, VACATED.
      SO ORDERED AND ADJUDGED.
      At San Juan, Puerto Rico, on April 20, 2018.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
